




Dismissed and Memorandum Opinion filed June 12, 2008








&nbsp;

Dismissed
and Memorandum Opinion filed June 12, 2008.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-08-00440-CR

____________

&nbsp;

GREGORY PAUL TOUPS,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
County Criminal Court at Law No. 1

Harris County, Texas

Trial Court Cause No.
1422217

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

A
written request to withdraw the notice of appeal, personally signed by
appellant, has been filed with this Court.&nbsp; See Tex. R. App. P. 42.2.&nbsp; Because this Court has not delivered
an opinion, we grant appellant=s request.

Accordingly,
we order the appeal dismissed.&nbsp; We direct the Clerk of the Court to issue the
mandate of the Court immediately.

PER CURIAM








Judgment rendered and Memorandum
Opinion filed June 12, 2008.

Panel consists of Justices Yates,
Anderson, and Brown.

Do not publish C Tex.
R. App. P. 47.2(b).





